      Case 3:01-cr-00141-GPC                        Document 420             Filed 07/17/13              PageID.4579    Page 1 of 5



    ~o 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations

                  Sheet I



                                            UNITED STATES DISTRICT COURT                                        2013 JUL 17 Pci 3: 23
                                                 SOUTHERN DISTRICT OF CALIFORNIA                              c0lJ



                     UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMlN';'L CASE
                                       v.                                     (For Revocation of Probation or Supervised Release)
                       RAPHYAL CRAWFORD (3)                                   (For Offenses Committed On or After November 1, 1987)


                                                                              Case Number: O1CROI41-IEG

                                                                              DANA GRIMES
                                                                              Defendant's Attorney
    REGISTRATION No. 16410198
o
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No....:I~,::,2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o   was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    Allegation Number                   Nature or Violation
              1              Committed a federal, state or local offense
              2              Unauthorized association with criminals/felons




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through        _5_ of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of any material change in the
    defendant's economic circumstances.

                                                                              JULY 15, 2013
                                                                             Date oflmposition of Sentence




                                                                                                        c.
                                                                              HON. IRMA E. GONZALEZ
                                                                              UNITED STATES DISTRICT JUDGE




                                                                                                                          01 CR0141-IEG
    Case 3:01-cr-00141-GPC                           Document 420                 Filed 07/17/13    PageID.4580            Page 2 of 5


AD 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment
                                                                                                    Judgment·- Page _ _2 _ of      5
 DEFENDANT: RAPHYAL CRAWFORD (3)
 CASE NUMBER: OICROI41-IEG
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED.




     o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.             Op·m.    on _ _ _ _ _ _ _ _ _ _ __

                 as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before
                  ----------------------------------------------------------
        o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                           RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                          to

 at _______________ , with a certified copy ofthis judgment.


                                                                                                   UNITFD STATES MARSHAL


                                                                                 By ____________-------------------------
                                                                                               DEPtITY UNITED STATES MARSHAL




                                                                                                                             OlCR014I-IEG
        Case 3:01-cr-00141-GPC                      Document 420               Filed 07/17/13              PageID.4581              Page 3 of 5


AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                               Judgment--Page   -L.. of _--=5'--_ _
DEFENDANT: RAPHYAL CRAWFORD (3)                                                                        a
CASE NUMBER: OICROI41-IEG
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
2 YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federa~ state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.
D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. (Check, ifapplicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with llie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 1690I, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I}     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      tbe defendant shall support his or her dependents and meet other family responsibilities;
  5)      tbe defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      tbe defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third paTties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confrrm the
          defendant's compliance with such notification requirement.

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         Case 3:01-cr-00141-GPC                          Document 420           Filed 07/17/13      PageID.4582            Page 4 of 5


       AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
                  Sheet 4 . Special Conditions
                                                                                                       Judgment Page --4..... of _ ......
                                                                                                                                      5 __
       DEFENDANT: RAPHYAL CRAWFORD (3)                                                            II
       CASE NUMBER: OICROI41-IEG




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
181 The defendant is to have no contact or affiliation with any gang or gang member.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Participate in 1:1 program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof ofprescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incuning new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 You shall submit to search of your person, property, residence, abode or vehicle, conducted by the probation officer, or any law enforcement
    officer, at any time of the day or night, with or without a warrant, and with or without reasonable or probable cause. Failure to submit to a
    search may be grounds for revocation; you shall warn any other residents that the premises may be subject to searches pursuant to this
    condition.




                                                                                                                                     OlCROI41-IEG
     Case 3:01-cr-00141-GPC                          Document 420         Filed 07/17/13            PageID.4583                Page 5 of 5




AD 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetruy Penalties
                                                                                                       Judgment·- Page _ _5__ of        5
 DEFENDANT: RAPHYAL CRAWFORD (3)                                                                D
 CASE NUMBER:OICR0141-IEG

                                                                RESTITUTION

The defendant shall pay restitution in the amount of _ _ _ _
                                                           $4_,9_5_1_.0_0_ _ _ unto the United States of America.
          INTEREST IS WAIVED.



          This sum shan be paid         _        immediately.
                                            )(   as follows:


           Pay restitution in the amount through the Clerk, U.S. District Court, to the following victims in the amounts
           specified, payable forthwith or through the Inmate Financial Responsibility Program during the period of incarceration,
           with the payment of any remaining balance to be made following the defendant's release from prison. The defendant is to
           be held jointly and severally responsible for this amount.




      The Court has determined that the defendant           does not   have the ability to pay interest. It is ordered that:
    K        The interest requirement is waived.

             The interest is modified as follows:




                                                                                                     0ICR0141-IEG
